                                   Case 1:05-cr-00022 Document 2 Filed 06/30/05 Page 1 of 1
                                                       f.._       .\JANCIAL AFFIDAVIl                                      -~                                            CJA
                                                                                                                                                                              23
                           IN SUPPORT OF REQUEST FOR ATTORNEY EXPERT OR OTHER COURT :.Eti\ IC~S ~IITHOUT PAYMENT OF FEE                                                 REV. 1/90

                  IN UNITED STATES        , 0 MAGISTRATE              0 DISTRICT        0 APPEALS COURT or    0 OJ;\§fifet~l'f>ecify below)
           IN THE CASE OF
                                                                                   FOR                                                                       LOCATION NUMBER

               (._1_•S_rP:L--~~-- vs.
          '---'1                            '[h;J 'i.'a a Ju!} 1---------"<..><.U..-~~~M------'
                                                                                   AT



                   PERSON REPRESENTED (Show your full name)




         £
                                                                                                                         myf@Jibrk)dUit
                                                                                                                2 0 Defendant-Juvenile
                                                                                                                3 0 Appellant
                                                                                                                4 0 Probation Violator

                   CHARGE/OFFENSE (describe if applicable & check box       -+ )    ~ny                         5 0 Parole Violator




          I
                                                                                    0 Misdemeanor               6 0 Habeas Petitioner
                                                                                                                7 0 2255 Petitioner
                                                                                                                8 0 Material Witness
                                                                                                                9 D Other ( S p e c i f y ) - - - - - - - - - - - - -




                                                                                                        0 Am Self Employed
                                     Name and address of employer:_J..-.L.J4____..Iw•L'--Bii";:a:d't:ls~..~t>~•=tt=:'S~•~.;'.:..,,~,_J;L.C.J.cw"JdL...J.!::£._Act1Jupl~IIUCd._,:.J..f----
                                     IF YES, how much do you 1                         IF NO, give month and year of last effiploym'ent
                       EMPLOY-               earn per month? $It OCJD,oJO              How much did you earn per month$_ _ _ _ _ __
                       ME~        r---------------------------~~--------------------------------
                                     lf married is your Spouse employed?                                           0 No
                                     IF YES, how much does your                                            If a minor under age 21, what is your Parents or
                                              Spouse earn per month$                                       Guardian's approximate monthly income$
                                     Have you received within the past 12 months any income from a business, profession or other form of self-employment, or in the
                                     form of rent payments, interest, dividends, retirement or annuity payments, or other sources? 0 Yes 0 No
                       OTHER                                                              RECEIVED                                        SOURCES

      ASSETS           INCOME        IF YES, GIVE THE AMOUNT
                                         RECEIVED & IDENTIFY $
 (p,ooD                                         THE SOURCES
0()6h Jn l.''llet
    t~r
                       CASH          Have you any cash on hand or money in savi!]lS or checking account               ~s        0 No        IF YES, state total amount $      ~ 000
orrf7c;.c.t:'\,t ~d.                 Do you own any real estate, stocks, bonds. notes, automobiles. or other valuable property (excluding ordinary household
                                     furnishings and clothing)? 0 Yes 0 No
                                                                                                                                       DESCRIPTION
                       PROP-
                       ERTY
                                     IF YES, GIVE VALUE AND $                                                       To'dO~O\. C~Ac'J
                                                DESCRIBE IT



                                                        MARITAL STATUS                     Total
                                                                                          No. of
                                                   L._j SINGLE                          Dependents
                           DEPENDENTS              I !/(MARRIED
                                                   L._j WIDOWED                     IJ
                                                   I          I   SEPARATED OR
     OBLIGATIONS                                   L--..1         DIVORCED
     & DEBTS               DEBTS &                                                           Cred~ors                                           Total Debt            Monthly Payt.
                                                   APARTMENT
                           MONTHLY                 OR HOME:
                                                                                                                                           $                      $
                           BILLS
                           (LIST ALL CREDITORS.
                           INCLUDING BANKS.
                           LOAN COMPANIES.
                                                                                              KtJiLMI                                      $

                                                                                                                                           $
                                                                                                                                                                  $35D
                                                                                                                                                                  $   -2>Cb
                           CHARGE ACCOUNTS.
                           ETC.)                                                                                                           $                      $e2 ~--o
                                                                                           I certify the above to be correct.
                            SIGNATURE OF DEFENDANT
                                 (OR PERSON REPRESENTED)
